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                         UNITED STATES DISTRICT COURT

                              DISTRICT OF NEVADA

                                      * * *

UNITED STATES OF AMERICA,               )
                                        )
                 Plaintiff,             )
                                        )         2:11-cr-120-RLH-CWH
v.                                      )
                                        )                   O R D E R
                                        )
GEORGE A. ANDERSON,                     )
                                        )
                                        )
                 Defendant.             )
                                        )

       On February 25, 2013, this matter came before the Court for

hearing     on   the    Defendant’s   failure    to     appear     as   ordered       on

January 28, 2013. The Defendant was present with counsel.

       The Court has considered the information and evidence offered

by the Government and by the Defendant and finds the Defendant

poses a     risk   of    non-appearance.      Further,      the    Court   finds no

conditions or combination of conditions of release would assure his

appearance.

       IT   IS   THEREFORE    ORDERED   pursuant       to    the    provisions        of

18 U.S.C. § 3148 that the release order heretofore entered on

June 6, 2011 is hereby revoked.

       IT IS FURTHER ORDERED that the defendant shall be detained

pending trial.



DATED this 25th day of February, 2013.




                                            ROGER L. HUNT
                                            UNITED STATES DISTRICT JUDGE
